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               Case 24-01183                    Doc 32               Filed 02/27/24 Entered 02/27/24 21:46:33                    Desc Main
                                                                      Document     Page 2 of 16
 Fill in this information to identify the case:

 Debtor name         Unique Fitness Concepts , LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)         24-01183
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     First American Bank                                      Checking                       9710                                     $1,477.20




           3.2.     Fifth Third Bank                                         Checking                       6112                                     $1,045.17



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                                 $2,522.37
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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                                                                      Document     Page 3 of 16
 Debtor         Unique Fitness Concepts , LLC                                                        Case number (If known) 24-01183
                Name


           11a. 90 days old or less:                                 2,590.97   -                                   0.00 = ....                     $2,590.97
                                              face amount                              doubtful or uncollectible accounts




 12.       Total of Part 3.
                                                                                                                                                $2,590.97
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                       Date of the last               Net book value of         Valuation method used     Current value of
                                                     physical inventory             debtor's interest         for current value         debtor's interest
                                                                                    (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Home Fitness and
           Medical Supplies                                                                        $0.00      Liquidation                         $10,000.00



 23.       Total of Part 5.
                                                                                                                                              $10,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                            Valuation method                         Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 2
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                Name

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Desks and Chairs                                                                 $0.00                                             $200.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computers, Telephones, Computer Monitors etc.                                    $0.00                                             $500.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                  $700.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Fitness Equipment                                                                $0.00    N/A                                  $20,000.00



 51.       Total of Part 8.
                                                                                                                                      $20,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor         Unique Fitness Concepts , LLC                                                 Case number (If known) 24-01183
                Name

               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            safewellmedical.com                                                             $0.00                                                 $0.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.
                                                                                                                                               $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                             $2,522.37

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                      $2,590.97

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                              $10,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                              $700.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                     $20,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                             $35,813.34           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $35,813.34




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 5
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 Fill in this information to identify the case:

 Debtor name         Unique Fitness Concepts , LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)             24-01183
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Bankers Healthcare Group,
 2.1
       LLC                                           Describe debtor's property that is subject to a lien                    $94,343.04                      $0.00
       Creditor's Name


       3700 Lakeside Dr.
       Miramar, FL 33027-3264
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.2   BMO Bank N.A.                                 Describe debtor's property that is subject to a lien                    $36,320.65                      $0.00
       Creditor's Name
       111 W. Monroe St.
       5 East
       Chicago, IL 60603
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 4
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                                                                      Document     Page 8 of 16
 Debtor       Unique Fitness Concepts , LLC                                                            Case number (if known)      24-01183
              Name




 2.3   Cloudfund LLC                                 Describe debtor's property that is subject to a lien                        $61,920.00          $0.00
       Creditor's Name
       400 Rella Blvd.
       Suite 165-101
       Suffern, NY 10901
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       9/29/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.4   Fundation Group, LLC                          Describe debtor's property that is subject to a lien                        $47,000.00          $0.00
       Creditor's Name
       11501 Sunset Hills Road
       Suite 100
       Reston, VA 20190
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.5   Goldman Sachs Bank USA                        Describe debtor's property that is subject to a lien                       $125,000.00          $0.00
       Creditor's Name


       222 South Main Street
       Salt Lake City, UT 84101
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
          No                                            Contingent

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 4
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                                                                      Document     Page 9 of 16
 Debtor       Unique Fitness Concepts , LLC                                                            Case number (if known)      24-01183
              Name

            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.




 2.6    Kapitus Servicing, Inc.                      Describe debtor's property that is subject to a lien                       $324,978.12                 $0.00
        Creditor's Name
        2500 Wilson Blvd.
        Suite 350
        Arlington, VA 22201
        Creditor's mailing address                   Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        3081
        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.




 2.7    Rocket Capital NY LLC                        Describe debtor's property that is subject to a lien                        $35,000.00                 $0.00
        Creditor's Name
        7288 Hanover Green Dr.
        Ste A
        Mechanicsville, VA
        23111-1709
        Creditor's mailing address                   Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.




 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.               $724,561.81

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity
         Christopher J. Cali
         201 Solar St.                                                                                          Line   2.1
         Syracuse, NY 13204


Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 4
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 Debtor       Unique Fitness Concepts , LLC                                              Case number (if known)   24-01183
              Name




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                   page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         Unique Fitness Concepts , LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)           24-01183
                                                                                                                                                    Check if this is an
                                                                                                                                                    amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $150,000.00
           Amazon Prime Lending Inc
                                                                                Contingent
           3818 S. Broadway St.                                                 Unliquidated
           Los Angeles, CA 90037                                                Disputed
           Date(s) debt was incurred 9/19/2022                               Basis for the claim: Loan
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                          $0.00
           Carlson Dash, LLC
           216 S. Jefferson St.
                                                                                Contingent
           Suite 303                                                            Unliquidated
           Chicago, IL 60661                                                    Disputed
           Date(s) debt was incurred                                         Basis for the claim: Notice Only
           Last 4 digits of account number R473                              Is the claim subject to offset?      No         Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $58,131.09
           Chicago Infill Industrial Properties LP
           4 Embarcadero Ctr.
                                                                                Contingent
           Suite 814                                                            Unliquidated
           San Francisco, CA 94111                                              Disputed
           Date(s) debt was incurred 2023                                    Basis for the claim: Eviction Judgment
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                          $0.00
           Chris S. Wunder
           180 N. LaSalle St.
                                                                                Contingent
           Suite 2108                                                           Unliquidated
           Chicago, IL 60601                                                    Disputed
           Date(s) debt was incurred                                         Basis for the claim: Notice Only
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 3
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 Debtor       Unique Fitness Concepts , LLC                                                           Case number (if known)            24-01183
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 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $10,946.70
           Invacare Corp.
                                                                                Contingent
           One Invacare Way                                                     Unliquidated
           Elyria, OH 44035                                                     Disputed
           Date(s) debt was incurred 2023                                    Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Max Recovery Group
           55 Broadway
                                                                                Contingent
           3rd Floor                                                            Unliquidated
           New York, NY 10006                                                   Disputed
           Date(s) debt was incurred 2022                                    Basis for the claim: Notice Only
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.7       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $75,000.00
           Medline Industries, LP
                                                                                Contingent
           Three Lakes Dr.                                                      Unliquidated
           Winnetka, IL 60093                                                   Disputed
           Date(s) debt was incurred 2023                                    Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.8       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Nguyen | Ballato
           2201 Libbie Ave.
                                                                                Contingent
                                                                                Unliquidated
           Richmond, VA 23230                                                   Disputed
           Date(s) debt was incurred 2024                                    Basis for the claim: Notice Only
           Last 4 digits of account number 2229                              Is the claim subject to offset?      No         Yes


 3.9       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $53,053.35
           Select Funding
           c/o Joshua J. Provost
           Capital Resource International
                                                                                Contingent
           25852 McBean Pkwy - Suite 801                                        Unliquidated
           Santa Clarita, CA 91355                                              Disputed
           Date(s) debt was incurred                                         Basis for the claim: Business Loan
           Last 4 digits of account number 5552                              Is the claim subject to offset?      No         Yes


 3.10      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           The Klein Firm LLC
                                                                                Contingent
           1820 Swarthmore Ave #714                                             Unliquidated
           Lakewood, NJ 08701                                                   Disputed
           Date(s) debt was incurred                                         Basis for the claim: Notice Only
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.11      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $15,000.00
           Wagento Creative LLC
           5721 Merle Hay Rd
                                                                                Contingent
           Suite 22                                                             Unliquidated
           Johnston, IA 50131-3300                                              Disputed
           Date(s) debt was incurred 2022                                    Basis for the claim: Website Services
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 3
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                Case 24-01183                   Doc 32               Filed 02/27/24 Entered 02/27/24 21:46:33                                  Desc Main
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 Debtor        Unique Fitness Concepts , LLC                                                       Case number (if known)          24-01183
               Name

     If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

            Name and mailing address                                                               On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                   related creditor (if any) listed?               account number, if
                                                                                                                                                   any
 4.1        Corporation Service Company
            300 Deschutes Way SW                                                                   Line     3.1
            Suite 304
                                                                                                          Not listed. Explain
            Ravensdale, WA 98051

 4.2        The CKB Firm
            30 North LaSalle St.                                                                   Line     3.7
            Suite 1520
                                                                                                          Not listed. Explain
            Chicago, IL 60602


 Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims

5.     Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
 5a. Total claims from Part 1                                                                         5a.         $                          0.00
 5b. Total claims from Part 2                                                                         5b.    +    $                    362,131.14

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                           5c.         $                      362,131.14




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 3
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                                                                     Document      Page 14 of 16
 Fill in this information to identify the case:

 Debtor name         Unique Fitness Concepts , LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)         24-01183
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                                                                     Document      Page 15 of 16
 Fill in this information to identify the case:

 Debtor name         Unique Fitness Concepts , LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)         24-01183
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                     Name                         Check all schedules
                                                                                                                                that apply:
     2.1     Harvey Reich                      276 Noble Circle                                    Kapitus Servicing, Inc.          D   2.6
                                               Vernon Hills, IL 60061                                                               E/F
                                                                                                                                    G



     2.2     Harvey Reich                      276 Noble Circle                                    Cloudfund LLC                    D   2.3
                                               Vernon Hills, IL 60061                                                               E/F
                                                                                                                                    G



     2.3     Harvey Reich                      276 Noble Circle                                    BMO Bank N.A.                    D   2.2
                                               Vernon Hills, IL 60061                                                               E/F
                                                                                                                                    G



     2.4     Harvey Reich                      276 Noble Circle                                    Rocket Capital NY LLC            D   2.7
                                               Vernon Hills, IL 60061                                                               E/F
                                                                                                                                    G



     2.5     Harvey Reich                      276 Noble Circle                                    Bankers Healthcare               D   2.1
                                               Vernon Hills, IL 60061                              Group, LLC                       E/F
                                                                                                                                    G



     2.6     Lori Reich                        276 Noble Circle                                    Cloudfund LLC                    D   2.3
                                               Vernon Hills, IL 60061                                                               E/F
                                                                                                                                    G




Official Form 206H                                                             Schedule H: Your Codebtors                                     Page 1 of 2
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 Debtor       Unique Fitness Concepts , LLC                                                   Case number (if known)   24-01183


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor

     2.7     Lori Reich                        276 Noble Circle                                    Goldman Sachs Bank             D   2.5
                                               Vernon Hills, IL 60061                              USA                            E/F
                                                                                                                                  G



     2.8     Lori Reich                        276 Noble Circle                                    BMO Bank N.A.                  D   2.2
                                               Vernon Hills, IL 60061                                                             E/F
                                                                                                                                  G



     2.9     Lori Reich                        276 Noble Circle                                    Bankers Healthcare             D   2.1
                                               Vernon Hills, IL 60061                              Group, LLC                     E/F
                                                                                                                                  G




Official Form 206H                                                             Schedule H: Your Codebtors                                Page 2 of 2
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